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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE * MDL NO, 1873
PRODUCT LIABILITY LITIGATION *
* SECTION “N-5"
*
THIS DOCUMENT IS RELATED TO: 09-3871 * JUDGE ENGELHARDT
* MAG. JUDGE CHASEZ
*

Nunnery y. Keystone Industries, Inc., et al
Claims of David L. McGraw *

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DECLARATION OF LINDA CORIBELLO

I, Linda Coribello, state and declare as follows:

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I am above the age of majority, and | make this Declaration based on facts that are
Within my own personal knowledge. | am not under any disability, ] am
competent to testify concerning the subject matter set forth in this Declaration.
and would do so in open court, under oath, if called upon to do so.

lam employed as a Legal Specialist I] by JPMorgan Chase Bank, N.A.(JPMC),
located at | Chase Manhattan Plaza, 26" Floor, New York, New York, 10005.

JPMC was served with a subpoena requesting certain information pertaining to
JPMC customer, David L. McGraw.

JPMC only maintains non-specific records of points of sale (POS) regarding
purchases made using a JPMC issued credit card and/or ATM debit card. JPMC
records do not provide detailed information regarding specific items purchased at
POS locations using JPMC cards.

Pursuant to 28 U.S.C. § 17.46, I declare under penalty of perjury that the foregoing is true

and correct.

oP
Executed this | Si day of March, 2010.

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~Tinda Coribello

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PLAINTIFF'S

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